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                 Exhibit 3
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   12 Attorneys for Defendant
      Feras Antoon
   13                     UNITED STATES DISTRICT COURT
   14              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15
        SERENA FLEITES,
   16                                                Case No. 21-cv-04920-CJC-ADS
                   Plaintiff,
   17        v.
   18   MINDGEEK S.A.R.L., a foreign entity;
        MG FREESITES, LTD., a foreign entity;
   19   MINDGEEK USA INCORPORATED, a
        Delaware corporation; MG PREMIUM
   20   LTD, a foreign entity; MG GLOBAL
        ENTERTAINMENT INC., a Delaware
   21   corporation, 9219-1568 Quebec, Inc.
        (d/b/a MindGeek), a foreign entity;
   22   BERND BERGMAIR, a foreign
        individual; FERAS ANTOON, a foreign
   23   individual; DAVID TASSILLO, a foreign
        individual; COREY URMAN, a foreign
   24   individual; VISA INC., a Delaware
        corporation; COLBECK CAPITAL
   25   DOES 1-5; and BERGMAIR DOES 1-5,
   26              Defendants.
   27      DEFENDANT FERAS ANTOON’S RESPONSES AND OBJECTIONS
   28             TO PLAINTIFF’S FIRST SET OF INTERROGATORIES
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    1        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and
    2 Local Rule 33-2 of this Court, Defendant Feras Antoon, by and through his

    3 attorneys, Cohen & Gresser LLP, hereby provides his responses and objections to

    4 Plaintiff’s First Set of Interrogatories (the “Interrogatories”) and states:

    5                              GENERAL OBJECTIONS
    6        1.     In an order dated July 29, 2022 (ECF No. 167 (the “July 29 Order”)),
    7 the Court granted Plaintiff Serena Fleites’s request to conduct jurisdictional

    8 discovery, noting “[a] court may permit discovery to aid in determining whether it

    9 has personal jurisdiction.” Id. at 6 (citation omitted). Mr. Antoon accordingly

   10 objects to the Interrogatories to the extent that they exceed the scope of

   11 jurisdictional discovery targeted at determining Mr. Antoon’s suit-related forum

   12 contacts.

   13        2.     Mr. Antoon objects to each Interrogatory that seeks to impose an
   14 undue burden on Mr. Antoon, including but not limited to any burden or obligation

   15 beyond those set forth in the applicable Federal Rules of Civil Procedure or the

   16 Local Rules of this Court.

   17        3.     Mr. Antoon objects to each Interrogatory to the extent it is vague,
   18 ambiguous, overly broad, oppressive, or unduly burdensome, and to the extent that

   19 compliance will impose undue expense and burden on Mr. Antoon.

   20        4.     Mr. Antoon objects to each Interrogatory to the extent it calls for,
   21 could be construed to call for, or seeks the production of information that is

   22 privileged or protected from disclosure under the attorney-client privilege, the

   23 privilege against compelled disclosure of work product or any material prepared in

   24 anticipation of litigation or in preparation for trial, or any other applicable

   25 privilege, whether set forth in the Federal Rules of Civil Procedure, common law,

   26 or the Constitutions of the United States or the State of California. Answers to the

   27 Interrogatories are given without waiving, but on the contrary reserving and

   28 intending to reserve, each of those privileges. If any such privileged information is

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    1 disclosed, except pursuant to a specific written agreement covering such

    2 information, the disclosure shall be deemed inadvertent and will not be intended to

    3 waive or prejudice any applicable privilege or immunity from disclosure, and all

    4 parties shall immediately return the privileged information to Mr. Antoon.

    5        5.     Mr. Antoon objects to each Interrogatory to the extent it seeks the
    6 production of information that is obtainable from some other source or discovery

    7 device that is more convenient, less burdensome, or less expensive.

    8        6.     Mr. Antoon objects to each Interrogatory to the extent it seeks
    9 information that is not relevant to any party’s claim or defense.

   10        7.     Mr. Antoon objects to each Interrogatory to the extent it seeks
   11 information that is not proportional to the needs of the case.

   12        8.     Mr. Antoon objects to each Interrogatory to the extent it seeks
   13 information that is not within Mr. Antoon’s possession, custody, knowledge, or

   14 control.

   15        9.     A response to any Interrogatory stating that any responsive documents
   16 will be produced does not constitute a representation or acknowledgment that there

   17 are any documents responsive to such Interrogatory.

   18        10.    The responses made herein shall not constitute a waiver of any
   19 objection by Mr. Antoon to the competency, relevancy, materiality, authenticity,

   20 privilege, or admissibility of each Interrogatory or the subject matter of any of

   21 them. Mr. Antoon reserves the right to supplement these responses if in the course

   22 of this action Mr. Antoon becomes aware of information that is called for by the

   23 Interrogatories and that was inadvertently overlooked or not available at the time

   24 of these responses.

   25        11.    Mr. Antoon objects to each Interrogatory to the extent that it calls for
   26 the disclosure of information that would violate any law, rule, or regulation and to

   27 the extent it calls for the disclosure of information that is protected from disclosure

   28 under any applicable privacy, data protection or other law or regulation.

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    1        12.    Mr. Antoon objects to the definitions of “any” and “all” as vague,
    2 overbroad, unduly burdensome, and not proportional to the needs of the case to the

    3 extent they purport to “bring within the scope of the Interrogatories all responses

    4 that might otherwise be construed to be outside of their scope.”

    5        13.    Mr. Antoon objects to the definition of “Communication” as vague,
    6 overbroad, unduly burdensome, and not proportional to the needs of the case to the

    7 extent it encompasses the memorialization of the transmittal of information rather

    8 than the transmittal of information.

    9        14.    Mr. Antoon objects to the definition of “MindGeek Entity” and
   10 “MindGeek Related Entities” because it is vague and overbroad, seeking

   11 information about entities and persons not relevant to determining whether

   12 personal jurisdiction exists over this action pursuant to the Court’s July 29 Order.

   13 Mr. Antoon therefore interprets “MindGeek Entity” and “MindGeek Related

   14 Entities” to mean MindGeek S.a.r.l., MG Freesites, Ltd., MindGeek USA

   15 Incorporated, MG Premium Ltd, MG Global Entertainment Inc., 9219-1568

   16 Québec, Inc. (the “MindGeek Corporate Defendants”).

   17        15.    Mr. Antoon objects to the definition of the “Relevant Time Period” to
   18 the extent it seeks information before June 1, 2014, and after June 17, 2021,

   19 because such information would be irrelevant to the Court’s jurisdictional inquiry

   20 and therefore exceeds the scope of discovery authorized by the Court’s July 29

   21 Order. Mr. Antoon therefore interprets “Relevant Time Period” to mean June 1,

   22 2014, through June 17, 2021.

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    1                   SPECIFIC OBJECTIONS AND RESPONSES
    2 Interrogatory No. 1:

    3        Identify all individuals or entities who hold, or have held during the
    4 Relevant Time Period, any direct, indirect, or beneficial economic interest by way

    5 of ownership, equity, shareholding, secured interest, indebtedness, option,

    6 derivative, trust, or otherwise in any MindGeek Related Entity or affiliate, and the

    7 precise nature and extent of that interest.

    8 Response to Interrogatory No. 1:

    9        Mr. Antoon objects to this Interrogatory on the grounds that it is overbroad,
   10 unduly burdensome, and seeks information beyond Mr. Antoon’s present

   11 knowledge, custody, or control. Mr. Antoon also objects to this Interrogatory to

   12 the extent it seeks information that can be obtained from a more convenient and

   13 less expensive source, namely, the MindGeek Corporate Defendants that were also

   14 the subject of the Court’s July 29 Order. Moreover, Mr. Antoon objects to the

   15 extent this Interrogatory seeks information beyond the scope of the jurisdictional

   16 discovery authorized by the Court’s July 29 Order. Mr. Antoon further objects to

   17 the term “beneficial economic interest” because it is vague and ambiguous.

   18 Subject to the foregoing objections, Mr. Antoon states that

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   27 Interrogatory No. 2:

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    1        Describe in detail each transaction during the Relevant Time Period in which
    2 ownership, shares, indebtedness, secured interests, options, derivatives, or other

    3 capital related transactions occurred involving a MindGeek Related Entity, and

    4 identify the direct and indirect participants in those transactions.

    5 Response to Interrogatory No. 2:

    6        Mr. Antoon objects to this Interrogatory on the grounds that it is overbroad,
    7 unduly burdensome, and seeks information beyond Mr. Antoon’s present

    8 knowledge, custody, or control. Mr. Antoon also objects to this Interrogatory to

    9 the extent it seeks information that can be obtained from a more convenient and

   10 less expensive source, namely, the MindGeek Corporate Defendants that were also

   11 the subject of the Court’s July 29 Order. Moreover, Mr. Antoon objects to the

   12 term “other capital related transactions” as vague and ambiguous. Subject to the

   13 foregoing objections, Mr. Antoon

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   15 Interrogatory No. 3:

   16        Identify the date, participants, and content for every presentation or
   17 communication of financial or other economic performance to investors, lenders,

   18 or others with direct or indirect financial interests in any MindGeek Related Entity.

   19 Response to Interrogatory No. 3:

   20        Mr. Antoon objects to this Interrogatory on the grounds that it is overbroad,
   21 unduly burdensome, and seeks information beyond Mr. Antoon’s present

   22 knowledge, custody, or control. Moreover, Mr. Antoon objects to the extent this

   23 Interrogatory seeks information beyond the scope of the jurisdictional discovery

   24 authorized by the Court’s July 29 Order. Mr. Antoon also objects to this

   25 Interrogatory to the extent it seeks information that can be obtained from a more

   26 convenient and less expensive source, namely, the MindGeek Corporate

   27 Defendants that were also the subject of the Court’s July 29 Order. Mr. Antoon

   28 further objects to this Interrogatory to the extent it seeks information that is not

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    1 proportional to the needs of the case. Mr. Antoon also objects to the terms “other

    2 economic performance” and “indirect financial interests” as vague and ambiguous.

    3 Subject to these objections, Mr. Antoon states that

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   22 Interrogatory No. 4:

   23        Describe in detail all direct or indirect jurisdictional contacts within the
   24 relevant jurisdictions, i.e. the United States and California, that You or Your

   25 agents, or any of the MindGeek Related Entities and their owners, executives, and

   26 employees, have or had during the Relevant Time Period, including but not limited

   27 to, offices, residences, and real estate located in the relevant jurisdictions;

   28 personnel or vendors employed, retained, or paid located in the relevant

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                                      ID #:6854


    1 jurisdictions, trips to the relevant jurisdictions; and revenues, profits, expenses,

    2 taxes earned or paid in or from the relevant jurisdictions; and communications or

    3 business relationships with, to, or in either of the relevant jurisdictions.

    4 Response to Interrogatory No. 4:

    5        Mr. Antoon objects to this Interrogatory on the grounds that it is overbroad,
    6 unduly burdensome, and seeks information beyond Mr. Antoon’s present

    7 knowledge, custody, or control. Mr. Antoon also objects to this Interrogatory to

    8 the extent it seeks information that can be obtained from a more convenient and

    9 less expensive source, namely, the MindGeek Corporate Defendants that were also

   10 the subject of the Court’s July 29 Order. Mr. Antoon further objects to this

   11 Interrogatory to the extent it calls for opinions and conclusions of law. Moreover,

   12 Mr. Antoon objects to this Interrogatory to the extent it seeks information beyond

   13 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

   14 Subject to these objections, Mr. Antoon states that

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     6 Interrogatory No. 5:

     7        Identify all aliases used by MindGeek executives, personnel, or agents to
     8 communicate publicly or privately in any communications related to MindGeek’s

     9 business.

    10 Response to Interrogatory No. 5:

    11        Mr. Antoon objects to this Interrogatory on the grounds that it is overbroad,
    12 unduly burdensome, and seeks information beyond Mr. Antoon’s present

    13 knowledge, custody, or control. Mr. Antoon also objects to the use of the term

    14 “MindGeek” as vague and ambiguous and therefore interprets “MindGeek” to

    15 mean the MindGeek Corporate Defendants. Mr. Antoon also objects to this

    16 Interrogatory to the extent it seeks information that can be obtained from a more

    17 convenient and less expensive source, namely, the MindGeek Corporate

    18 Defendants that were also the subject of the Court’s July 29 Order. Mr. Antoon

    19 further objects to this Interrogatory to the extent it calls for opinions and

    20 conclusions of pure law. Moreover, Mr. Antoon objects to the extent this

    21 Interrogatory seeks information beyond the scope of the jurisdictional discovery

    22 authorized by the Court’s July 29 Order. Subject to these objections, Mr. Antoon

    23 states that

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    25 Interrogatory No. 6:

    26        Identify all social media accounts, email accounts, cell numbers, text, or
    27 other communications services or applications used by the Individual Defendants

    28 directly or through any MindGeek Related Entity during the Relevant Time Period.
         &21),'(17,$/
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     1 Response to Interrogatory No. 6:

     2        Mr. Antoon objects to this Interrogatory on the grounds that it is overbroad,
     3 unduly burdensome, and seeks information beyond Mr. Antoon’s present

     4 knowledge, custody, or control. Mr. Antoon also objects to this Interrogatory to

     5 the extent it seeks information that can be obtained from a more convenient and

     6 less expensive source, namely, the MindGeek Entities that were also the subject of

     7 the Court’s July 29 Order. Moreover, Mr. Antoon objects to the extent this

     8 Interrogatory seeks information beyond the scope of the jurisdictional discovery

     9 granted by the Court’s July 29 Order. Subject to these objections, Mr. Antoon

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     1 September 22, 2022

     2                                 Respectfully submitted,
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